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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION


LED WAFER SOLUTIONS LLC,
               Plaintiffs,
                                       C.A. No. 6:21-CV-00292-ADA
      v.
                                       JURY TRIAL REQUESTED
SAMSUNG ELECTRONICS CO., LTD., and
SAMSUNG ELECTRONICS AMERICA,
INC.,

                   Defendants,

and

SEOUL SEMICONDUCTOR CO., LTD.,

            Intervenor-Defendant.



 SAMSUNG’S NOTICE REGARDING PENDING MOTION FOR INTER-DISTRICT
       TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
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        Pursuant to the Court’s “Second Amended Standing Order Regarding Motion for Inter-

 District Transfer” dated August 18, 2021, Defendants Samsung Electronics Co., Ltd., and

 Samsung Electronics America, Inc. (collectively, “Samsung”) provide the following status

 report regarding their motion for inter-district transfer of venue to the Northern District of

 California under 28 U.S.C. § 1404(a) (ECF No. 40):

        1.      Samsung’s motion for inter-district transfer is not yet fully briefed and is not

 yet ready for resolution.

        2.      Plaintiff LED Wafer Solutions LLC (“Plaintiff”) served venue discovery

 requests upon Samsung on December 7, 2021.

        3.      According to the Court’s “Amended Standing Order Regarding Venue and

 Jurisdictional Discovery Limits for Patent Cases” dated June 8, 2021 (“Venue Order”), venue

 and jurisdictional discovery closed on February 26, 2022, and Plaintiff’s opposition to

 Samsung’s motion was due on or before March 12, 2022.

        4.      Plaintiff filed its opposition on March 14, 2022. See ECF No. 62.

        5.      According to the Court’s Venue Order, Samsung’s reply is due two weeks after

 the filing of Plaintiff’s opposition. Samsung’s reply is therefore due on March 28, 2022.

        6.      The Markman hearing in this case is currently scheduled for April 15, 2022.


Dated: March 18, 2022                        By: /s/ Benjamin N. Luehrs


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                                   CERTIFICATE OF SERVICE

          I certify that on March 18, 2022, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send notification of such filing on all counsel of

record.


                                                                /s/ Benjamin N. Luehrs
                                                                Benjamin N. Luehrs




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